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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-396V
                                   Filed: November 20, 2017
                                        UNPUBLISHED


    JEANNE WEBER,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Table Injury; Influenza (Flu) Vaccine;
                                                             Shoulder Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1
Dorsey, Chief Special Master:
       On March 23, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) following her receipt of her October 2, 2015 influenza (“flu”)
vaccination. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.
       On November 20, 2017, respondent filed his Rule 4(c) report in which he
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent “believes that petitioner’s medical course is
consistent with a shoulder injury related to vaccine administration (“SIRVA”) as defined

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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on the Vaccine Injury Table.” Id. at 7. Respondent further states that “petitioner had no
recent history of pain, inflammation, or dysfunction of her left shoulder, pain occurred
within 48 hours after receipt of an intramuscular vaccination, pain was limited to the
shoulder where the vaccine was administered, and no other condition or abnormality,
such as brachial neuritis, has been identified to explain petitioner’s shoulder pain.” Id.
at 8. Respondent further agrees that petitioner suffered residual effects of her condition
for more than six months and that petitioner has satisfied all legal prerequisites to
compensation under the Vaccine Act. Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.


IT IS SO ORDERED.


                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
